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AO 245D (Rev, 09/| l) judgment in a Criminal Case for Revocations

 

Sheet 1
UNITED STATES DisTRiCT COURT
Southern District of Ohio
UNlTED STATES OF AMER|CA Judgment in a Criminal Case

V. (For Revocation ofProbation or Supervised Re|ease_)
CHR|STOPHER M. JONES

Case No. CR-Z-OQ-‘l 78

USM No.

Gordon Hobson, Esq.

THE DEFENDANT: Dcfendant’s Atlorncy

Q/ admitted guilt to violation of condition(s) of the term of supervision
l:l was found in violation of condition(s) after denial of guilt

The defendant is adjudicated guilty of these violations:

Violation Number Nature of Violation Violation Ended

Vio|ation of Specia| Condition #4

The defendant is sentenced as provided in pages 2 through 3 of this judgment Ttie sentence is imposed pursuant to
the Seiitencing Ret`orm Act of 1984.

|:l The defendant has not violated condition(s) and is discharged as to such violation(s) condition

lt is ordered that the defendant must notify the United States attorney for this district Within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paidl _If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstancesl

Last Four Digits of Defendant’s Soc. Sec. No.: 01/22/20‘\5
Date oflmpositioii ofJudgmeiit

Defendant’s Year of Birth: /<)\

 

 

 

City and State of Defendant‘s Residence: 6 Signature of Judge
Edmund A. Sargus, Jr. U.S. Dlstrict Judge
Name and Title of.ludge
l- 3b ~ )-O\S'

 

Date

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AO 245D (Rev. 09/1 l) Judgment in a Criminal Case for Revocatioiis
Sheet 2_ lmprisoriment

Judgment j Page 2 of
DEFENDANTZ CHF\’|STOPHER M. JONES
CASE NUMBERZ CR-2-09-178

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of :

Time Served.

l:| The court makes the following recommendations to the Bureau of Prisons:

l:l The defendant is remanded to the custody of the United States Marshal.

|:l The defendant shall surrender to the United States l\/farshal for this district:
l:l at l:l a.m. l:| p.m. on

 

[l as notified by the United States Marshal.

|:| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

|:] before 2 p.m. on

 

l:| as notified by the United States Marshal.

l:| as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
l have executed this judgment as follows:
Det`endant delivered on to
at with a certified copy of this judgment
UNITED STATES MARSHAL
By

 

DEPUTY UNl'l`ED STATES MARSHAL

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AO 2450 (Rcv. 09/] |) .ludgmi:nt in a Crirninal Case for Revocations
Sheet 3 -* Supervised Refease

JLidgment_Page 3 of ____3__

 

DEFENDANT: CHR|STOPHER Nl. JONES
CASE NUMBER: CR-2-09-‘l 78
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
Ti-|REE (3) Months to be served at the Alvis House. Upon completion, Supervised Release is terminated

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance The defendant shall refrain from any unlawful use of_ a controlled
substance The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.

l:l The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Checi<, if applicable.)

d The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon (Check, if
E{ The defendant shall cooperate in the coliection of DNA as directed by the probation officer. (Chectr, if applicable.)

|:l The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
or is a student, as directed by the probation officer. (Checi<, if applicable.)

|:l The defendant shall participate in an approved program for domestic violence (Checl<, if applicable.)

_ If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment

_ _ The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDI'I`IONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) :)hfifz_1 cc:i;:lf;endant shall answer truthfully all inquiries by the probation officer and foilow the instructions of the probation

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlied substances1 except as prescribed by a physician;

8) the defendant shall not frequent places where controiled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activi and shall not associate with any person

convicted of a felony, unless granted permission to do so by the probation of icer;

10) the defendant shall permit a probation officer to visit him or her at a_ny time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

l l) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer_;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court; an

13) as directed by _the probation officer, the defendant shall noti_fy_third parties of risks that may _be occasioned by the
defendant‘s criminal record or personal history or characteristics and shall permit th_e probation officer to make such
notifications and to confirm the defendant’s compliance with such notification requirement

